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                    UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

                                             )
LG Electronics Inc., et al.                  )
                                             )
                                  Plaintiff, )
v.                                           )
                                             )       Case No.: 1:21-cv-02600
                                             )
Partnerships and unincorporated              )       Honorable Mary M. Rowland
Associations Identified in Schedule A        )
                                             )
                                Defendant. )



            DEFENDANTS’ MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Local Rule 26.2, Defendants Qingdao Ecopure Filter Co., Ltd., Qingdao

Maxwell Commercial and Trading Company Ltd., and Qingdao Youniwei Trading Co., Ltd. (the

“Ecopure Defendants,” owners of Amazon storefronts WaterdropDirect, Water Purity Expert,

and Uniwell Filter, respectively) respectfully move for leave to file under seal Defendants’

Memorandum in Support of Motion Under Rule 65 to Dissolve Ex Parte Temporary Restraining

Order and Preliminary Injunction and the accompanying Exhibit 19 (Zou Declaration).

       Sealing these filings is necessary to prevent the public disclosure of the Ecopure

Defendants’ confidential commercial sales information, financial data, and other confidential

information, all of which constitutes valuable trade secrets of the Ecopure Defendants. Local

Rule 26.2(b) provides “[t]he court may for good cause shown enter an order directing that one or

more documents be filed under seal.” The Ecopure Defendants’ brief and declaration contains

confidential commercial sales information, confidential financial data, and other trade secret

information that, if disclosed to the public (including the other defendansts in this case), would

damage the Ecopure Defendants’ competitive position and business. Information constitutes
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trade secret if it is (1) “not generally known in the industry,” and (2) used in the defendants’

business. Composite Marine Propellers, Inc. v. Van Der Woude, 962 F.2d 1263, 1265-66 (7th

Cir. 2002). Given that the Ecopure Defendants’ information constitutes trade secrets as defined,

the Ecopure Defendants respectfully request that it be permitted to file these materials under seal.



Date: June 25, 2021                           /s/ Steven P. Mandell

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                                 CERTIFICATE OF SERVICE


       The undersigned certifies that a copy of the foregoing was filed electronically with the

Clerk of the Court using the CM/ECF system on this 25th day of June 2021 and served

electronically on Plaintiff’s counsel of record.




                                               /s/ Steven P. Mandell




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